      Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 1 of 8 PageID #:78




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                    No. 20 CR 447
        v.
                                                    Judge Robert W. Gettleman
 KOSHAUN L. HUGHES

                   GOVERNMENT’S RESPONSE TO
             DEFENDANT’S MOTION FOR PRETRIAL RELEASE

       This Court should not grant defendant Koshaun Hughes’s motion for pretrial

release. R. 23. Hughes, who is facing a charge of illegally possessing a firearm as a

felon, has repeatedly demonstrated that he cannot be trusted to abide by any

conditions of pretrial release. He has a prior felony conviction for violating electronic

monitoring in a state case, and he has a recent history of repeatedly committing new

drug trafficking offenses while on parole for prior drug trafficking convictions. His

history and characteristics, combined with the seriousness of the instant offense and

his prior offenses, demonstrate that, as the Pretrial Services Office has recommended,

there is no condition or combination of conditions that would reasonably assure his

appearance as required and the safety of any other person and the community. R. 7,

24.

I.      BACKGROUND

       The charge in this case arises out of Hughes’s arrest on July 31, 2020. That

evening, Chicago Police officers pulled over Hughes in his vehicle after seeing Hughes

commit two separate traffic violations: not wearing a seatbelt and failing to use a
    Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 2 of 8 PageID #:79




turn signal.1 As Chicago Police officer Maria Sigartau approached the driver’s side

of the vehicle, she saw Hughes reach with his right hand and place an L-shaped item

that appeared to be in the shape of a handgun on the backseat floorboard. When

Officer Sigartau reached the vehicle and talked to Hughes while he was sitting in the

driver’s seat, Hughes appeared nervous and was moving around a lot in his seat.

Officer Sigartau was concerned that Hughes might reach for the suspected weapon

in the back seat, so she asked Hughes to exit the vehicle.

      Once Hughes was outside of the vehicle, Officer Sigartau asked him if there

was a gun in the car. Hughes responded that there was. Officer Sigartau then

handcuffed Hughes, opened the driver’s side rear door of the vehicle, and recovered a

loaded semi-automatic pistol from the backseat floorboard.           Officer Sigartau

subsequently asked Hughes if he had a firearm owners identification (FOID) card or

a concealed-carry license. When Hughes responded that he did not have either,

Officer Sigartau arrested him. In his Mirandized and recorded post-arrest interview

with federal agents, Hughes admitted among other things that: Chicago Police

officers found a gun in his car; the gun was in the back seat; the gun belonged to him;

he bought the gun about three years ago; and he knew that he could not lawfully

possess a gun because he was a convicted felon.

      Following Hughes’s arrest on July 31, 2020, Magistrate Judge Young B. Kim

ordered him detained in federal custody. R. 8. Hughes did not contest detention. Id.


1 The facts recited here are based on materials produced by the government to
defendant in discovery, including CPD reports and Hughes’s recorded post-arrest
interview.

                                          2
      Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 3 of 8 PageID #:80




Now, approximately six months after his arrest, Hughes has moved for pretrial

release, proposing that he be released to a third-party custodian. Hughes Mot. at 2-

3.    The Pretrial Services Office interviewed Hughes’s proposed custodian and

determined that a third-party custodianship could not reasonably assure Hughes’s

appearance and the safety of the community and thus recommended that Hughes

remain detained. R. 24 at 1-2.

II.    LEGAL STANDARD

       Under the Bail Reform Act, federal courts may order a defendant’s detention

pending trial upon a determination that no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of any

other person and the community. 18 U.S.C. § 3142(e). The Act also establishes a set

of factors that this Court may consider in its detention determination, including the

nature and circumstances of the offense charged, the weight of the evidence against

the defendant, and the history and characteristics of the defendant.      18 U.S.C.

§ 3142(g).2

       With respect to reasonably assuring the appearance of the defendant, the

government bears the burden of proof by a preponderance of the evidence. United

States v. Portes, 786 F.2d 758, 765 (7th Cir. 1985). With respect to reasonably

assuring the safety of any other person and the community, the government bears

the burden of proving its allegations by clear and convincing evidence. 18 U.S.C.




2 There is no rebuttable presumption of detention in this case. Hughes’s assertion to
the contrary is incorrect. Hughes Mot. at 2.
                                          3
       Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 4 of 8 PageID #:81




§3142(f); United States v. Salerno, 481 U.S. 739, 742 (1987). A finding of either

danger to the community or a flight risk is sufficient to detain a defendant awaiting

trial; a court need not find both to detain a defendant under the Act. Portes, 786 F.2d

at 765.

III.    ARGUMENT

        Hughes has a substantial history of re-offending while under court supervision.

His prior convictions demonstrate an inability to be deterred, and the nature of this

offense and his prior offenses show that when he is released, he commits crimes that

endanger the community. Consistent with the recommendation of Pretrial Services,

Hughes should remain detained in order to protect the community and ensure his

appearance as required.

        A.     The Nature and Circumstances of the Offense and the Weight of
               the Evidence

        On July 31, 2020, Hughes, a felon, was riding around Chicago with a loaded

gun at the ready. He admitted to possessing the gun, and to having possessed it for

three years despite knowing that he could not possess a gun as a felon. Hughes’

actions pose a serious risk to the community. The seriousness of Hughes’s unlawful

possession of a firearm is supported by the weight of the evidence in this case. As

Judge Zagel explained, “[v]ery strong evidence, when coupled with the possibility of

a very long sentence, is relevant to the likelihood of the accused’s non-appearance at

trial. Flight is always more likely when a defendant has little or nothing to lose by

absconding. The weight of the evidence is also relevant to the question of whether

detention is justified by the need to protect the community.”        United States v.

                                           4
    Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 5 of 8 PageID #:82




Calabrese, 436 F. Supp. 2d 925, 927 (N.D. Ill. 2006). In this case, Hughes has

admitted to illegal possession of the loaded gun in his car.

        B.    History and Characteristics of Hughes

        Pretrial Services has recommended that Hughes be detained based primarily

on the seriousness of the instant offense and his prior convictions; his history of

reoffending while on court supervision; and his felony conviction for violation of

electronic monitoring. R. 7 at 9-10. As detailed in the Pretrial Services Report,

Hughes, who is currently 25 years old, has been arrested on about 22 separate

occasions since October 2013, with 12 of those arrests resulting in convictions. R. 7

at 3-9. While it is true that Hughes has no prior convictions for gun possession or a

violent crime, he has multiple recent drug trafficking convictions that demonstrate

his danger to the public, particularly when coupled with the instant offense. For

instance, on April 29, 2015, Hughes was convicted for the manufacture/delivery of

marijuana in the Circuit Court of Cook County and sentenced to one year of

imprisonment. Id. at 7. While on parole for that conviction, Hughes was arrested

and subsequently convicted on February 9, 2016, in the Circuit Court of Cook County

for the manufacture/delivery of heroin and sentenced to two years’ imprisonment. Id.

at 8.   And while Hughes was on parole for the February 2016 drug trafficking

conviction, he was arrested and subsequently convicted on October 20, 2017, in the




                                           5
     Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 6 of 8 PageID #:83




Circuit Court of Cook County for the manufacture/delivery of heroin and sentenced

to two more years’ imprisonment.3 Id. at 8-9.

      Furthermore, while Hughes’s criminal history is significant, and his continued

refusal to abide by the law reflects his danger to the community, what is more telling,

and particularly relevant to this Court’s analysis as to detention, is Hughes’s multiple

parole violations and bond forfeitures, which demonstrate his unwillingness or

inability to abide by a court’s conditions of release. Most notably, Hughes has a felony

conviction from August 11, 2014, for Escape/Violation of Electronic Monitoring that

resulted in a sentence of two years’ probation. Id. at 6. What’s more, Hughes’s

criminal history shows that he had multiple parole violations, namely the two

referenced in the prior paragraph, after his August 2014 felony conviction for

violation of a court’s bond conditions. Id. at 6-9. All of the aforementioned offenses,

including the conviction for Escape/Violation of Electronic Monitoring as well as the

multiple bond forfeitures, occurred while Hughes had “substantial” connections to

this district. Hughes Mot. at 2-3.

      Hughes asks this Court to disregard his history of non-compliance with court

supervision and string of serious drug offenses by pointing to the fact that he does

not have convictions for violent acts or gun possession. Hughes Mot. at 1-3. Drug

trafficking, however, is the type of offense that courts have routinely recognized poses



3  As this Court knows, heroin is highly addictive, and users face a high risk of
physical dependence and potential overdose or death. See, e.g., Department of
Justice/Drug Enforcement Administration, Drug Fact Sheet, Heroin, June 2020,
available at https://www.dea.gov/sites/default/files/2020-06/Heroin-2020.pdf (last
visited February 16, 2021).
                                           6
    Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 7 of 8 PageID #:84




a serious danger to the community, both due to the nature of the substances that are

being distributed as well as the risk of violence that accompanies the drug trade.

Contrary to Hughes’s assertion, the legislative history of the Bail Reform Act makes

clear that Congress intended that the “safety of the community” concern in § 3142

encompasses more than merely danger of harm involving physical violence. S.Rep.

No. 225, 98th Cong., 1st Sess. 12 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3195

(“[T]he language referring to the safety of the community refers to the danger that

the defendant might engage in criminal activity to the detriment of the community.

The committee intends that the concern about safety be given a broader construction

than merely danger of harm involving physical violence.”).

      In short, the pending federal charge is not an isolated incident. Hughes has

repeatedly committed drug trafficking crimes that endanger the community, and he

has done so while under court supervision. His criminal history and behavior on

probation and bond thus weigh strongly in favor of detention.

      C.    No Combination of Conditions Will Assure Hughes’s Appearance
            and the Safety of the Community.

      Finally, no set of conditions, including those proposed in Hughes’s motion

(which simply suggests a third-party custodian), can adequately address Hughes’s

risk of flight and danger to the community. Hughes Mot. at 2-3. After interviewing

Hughes’s proposed custodian, Pretrial Services determined that a third-party

custodianship, even in conjunction with any other conditions, could not reasonably

assure Hughes’s appearance and the safety of the community. R. 24 at 1-2. In

particular, the proposed custodian would be insufficient here since she is employed

                                         7
      Case: 1:20-cr-00447 Document #: 28 Filed: 02/18/21 Page 8 of 8 PageID #:85




full-time and presumably would not be home for long periods and also was unwilling

to co-sign a bond. Id. It is thus unsurprising that Pretrial Services continues to

recommend detention given that Hughes’s demonstrated pattern of breaking the law

and disrespecting the courts over the past eight years makes plain his inability and

unwillingness to comply with any conditions this Court may impose.

IV.    CONCLUSION

       For the foregoing reasons, as well as the reasons set forth in the Pretrial

Services Report and Supplemental Addendum, Hughes’s motion for pretrial release

should be denied and Hughes should remain detained pending trial.

                                              Respectfully submitted,

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                                          8
